                                           3:16-cr-30049-SEM-TSH # 125     Page 1 of 4
                                                                                                              E-FILED
                                                                                   Tuesday, 15 June, 2021 02:00:52 PM
                                                                                         Clerk, U.S. District Court, ILCD
                                          IN THE UNITED STATES DISTRICT COURT
                                              CENTRAL DISTRICT OF ILLINOIS
                                                  SPRINGFIELD DIVISION

                        UNITED STATES OF AMERICA,

                             Plaintiff,

                                   v.                                   No.: 16-30049

                        DONALD DOROSHEFF,

                             Defendant.


                                                MOTION TO WITHDRAW

                          The undersigned Criminal Justice Act appointed counsel, Howard

                        W. Feldman, herewith requests to withdraw as counsel for the

                        Defendant, Donald Dorosheff.            In support of this Motion, the

                        undersigned counsel states as follows:

                          1. On September 13, 2017, I was appointed counsel on behalf of

                             Defendant, Donald Dorosheff.

                          2. Donald Dorosheff was detained and has been on supervised

                             release wearing an ankle monitor and restricted to his residence

                             with limited exceptions without seeking specific Court approval,

                             since November 2018, while awaiting trial.

                          3. On May 30, 2018, the court ordered the parties to brief the

                             issues of the knowledge of the AUSA and FBI agent who applied
FeldmanWasser
1307 S. Seventh St.
Post Office Box 2418
Springfield, IL 62705
217/544-3403                                              Page 1 of 4
                                      3:16-cr-30049-SEM-TSH # 125   Page 2 of 4




                          for the Eastern District of Virginia NIT warrant of February 20,

                          2015, and the knowledge of their superiors, and of other officers

                          or agents of DOJ and the FBI, regarding amendments to FRCP

                          Rule 41 and In re Warrant (S.D. Texas, April 22, 2013). (d/e

                          5/30/2018).      The Government filed its brief on August 10,

                          2018. Defendant filed his brief on August 13, 2018.

                        4. On August 7, 2018, Defendant’s counsel filed a Motion to

                          Compel disclosure of items previously requested in a discovery

                          letter.

                        5. On August 8, 2018, the Government filed a Response to

                          Defendant’s Motion to Compel.

                        6. On January 28, 2019, this Court directed the Government to

                          disclose for in camera review by February 8, 2019, all

                          documents responsive to Defendant’s discovery requests

                          contained    in the    above-referenced     discovery letter. The

                          Government requested and was granted a 60-day extension of

                          this deadline.

                        7. On April 9, 2019, the Government filed a Motion to Clarify, to

                          which the Defendant responded on April 17, 2019. The Court

                          has not yet ruled on the Government’s Motion.
FeldmanWasser
1307 S. Seventh St.
Post Office Box 2418
Springfield, IL 62705
217/544-3403                                         Page 2 of 4
                                        3:16-cr-30049-SEM-TSH # 125    Page 3 of 4




                          8. Irreconcilable differences have arisen between the client and

                             counsel   as   to   how   to    proceed    such     that   continued

                             representation would be unreasonably difficult.

                          9. The appointed counsel will confer and cooperate in all ways with

                             any newly assigned counsel.

                          WHEREFORE, the undersigned Criminal Justice Act counsel

                        respectfully moves to withdraw in this case.




                                                        DONALD DOROSHEFF, Defendant,


                                             BY: __/s/ Howard W. Feldman___________
                                                      Howard W.Feldman, #0788066
                                                      1307 South Seventh
                                                      Springfield, IL 62703
                                                      217-544-3403
                                                      hfeldman@feldman-wasser.com




FeldmanWasser
1307 S. Seventh St.
Post Office Box 2418
Springfield, IL 62705
217/544-3403                                           Page 3 of 4
                                        3:16-cr-30049-SEM-TSH # 125   Page 4 of 4




                                            CERTIFICATE OF SERVICE

                              I hereby certify that on _June 15th , 2021, I electronically filed
                        the foregoing with the Clerk of the Court using the CM/ECF system
                        which will send notification of such filing to the following:

                                   Timothy A Bass      tim.bass@usdoj.gov

                                   John David Hoelzer       john.hoelzer@usdoj.gov

                                   Richard Kim      richard.kim@usdoj.gov


                        and I hereby certify that I have mailed by United States Postal Service
                        the document to the following non CM/ECF participants:

                                   Not Applicable




                                                    /s/ Howard W. Feldman__________
                                                    Howard W. Feldman #0788066
                                                    Attorney for Defendant
                                                    FeldmanWasser
                                                    1307 S. 7th Street, P.O. Box 2418
                                                    Springfield, IL 62705
                                                    Telephone: (217) 544-3403
                                                    Fax: (217) 544-1593
                                                    E-mail: hfeldman@feldman-wasser.com




FeldmanWasser
1307 S. Seventh St.
Post Office Box 2418
Springfield, IL 62705
217/544-3403                                            Page 4 of 4
